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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

CORPORATIVO GROUPO R SA de C.V., §
                                 §
                                 §
                     Plaintiff   §
vs.                              §                     CIVIL ACTION NO. H-19-1963
                                 §
MARFIELD LIMITED INCORPORATED, §
and SHANARA MARITIME             §
INTERNATIONAL, S.A.,             §
                                 §
                     Defendants  §

                          VERIFIED COMPLAINT IN INTERVENTION

           Intervenor-Plaintiffs, Caterpillar Financial Services Asia Pte Ltd, Eksportfinans ASA, the

Norwegian Government, represented by the Norwegian Ministry of Trade and Industry and

Eksportkreditt Norge AS, and KFW IPEX-Bank GmbH, for their Verified Complaint in

Intervention, respectfully represent as follows:

                                           THE PARTIES

           1.     Intervenor-Plaintiff, Caterpillar Financial Services Asia Pte Ltd (“Caterpillar”) is

a company incorporated in Singapore and having its place of business at 14 Tractor Road,

Singapore 627973.

           2.     Intervenor-Plaintiff, Eksportfinans ASA (“Eksportfinans”) is a company

incorporated in Norway and having its place of business at Dronning Mauds gate 15, NO-0250

Oslo, Norway.

           3.     Intervenor-Plaintiff, the Norwegian Government is a foreign sovereign, and is

represented by the Norwegian Ministry of Trade and Industry, who is represented by

Eksportkreditt Norge AS (collectively, “Norway”), who has its place of business at Cort Adelers

gate 30, NO-0251 Oslo, Norway.

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           4.   Intervenor-Plaintiff, KFW IPEX-Bank GmbH (“KFW,”) is a German financial

institution having its principal place of business at Palmengartenstraβe 5-9, 60325, Frankfurt,

Germany. Caterpillar, Eksportfinans, Norway, and KFW are sometimes collectively referred to

herein as the “Lenders.”

           5.   Defendant, Marfield Ltd., Inc. (“Marfield”) is a Panama corporation having its

principal place of business in Edifico Hong Kong Bank 6 Piso, Samuel Lewis Avenue, Panama.

Marfield is already a party in this case and therefore no additional service of process is requested.

           6.   Defendant, Shanara Maritime International S.A. (“Shanara” and collectively with

Marfield, the “Borrowers”) is a Panama corporation having its principal place of business at

Edifico Capital Plaza, 8 Piso Costa del Este, Ave. Roberto Motta, Panama City, Panama. Shanara

is already a party in this case and therefore no additional service of process is requested.

           7.   Defendant, the M/V CABALLO MAYA, a Panama flagged DP3 offshore

construction vessel bearing registration number 42480-11 (the “Maya”) is owned by Marfield, and

is subject to several preferred ship mortgages in favor of Caterpillar and Eksportfinans

(collectively, the “Marfield Lenders”). The Maya is afloat within the Southern District of Texas

and is within the jurisdiction of this Court.

           8.   Defendant, the M/V CABALLO MARANGO, a Panama DP3 offshore

construction vessel bearing registration number 44435-12 (the “Marango,”), is owned by Shanara,

and is subject to several preferred ship mortgages in favor of Caterpillar and Norway (collectively,

the “Shanara Lenders”), and KFW. The Marango is afloat within the Southern District of Texas

and is within the jurisdiction of this Court. The Marango and the Maya are sometime collectively

referred to herein as the “Vessels.”




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           9.    This is an action against (i) the Borrowers, in personam, for their failure to repay

several loans provided by the Lenders, and (ii) the Vessels, their engines, boilers, tackle, apparel,

etc., in rem, to recognize the Lenders’ Preferred Ship Mortgages and maritime liens over the

Vessels. The Vessels were previously attached pursuant to Court Order dated May 31, 2019 (Rec.

Doc. 7) and are currently under seizure by the United States Marshal. (Rec. Doc. 17). Borrowers

entered a general appearance in this lawsuit on June 25, 2019 (Rec. Doc. 21).

                                  JURISDICTION AND VENUE

           10.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1333 in that this action is an admiralty and maritime claim within the meaning of Rule 9(h) of the

Federal Rules of Civil Procedure and the Supplemental Rules For Certain Admiralty and Maritime

Claims, and is brought for the enforcement of several preferred ship mortgages under the Ship

Mortgage Act, 46 U.S.C. § 31301, et seq.

           11.   This Court also has supplemental subject matter jurisdiction pursuant to 28 U.S.C.

§ 1367 because the underlying and competing claims to the Vessels form part of the same case or

controversy as the original lawsuit filed by plaintiff, Corporativo Groupo R SA de C.V.

           12.   Venue is proper in this district because the Vessels are located within this district,

as required by 28 U.S.C. § 1391(b).

                                   FACTUAL ALLEGATIONS

           THE MARFIELD LOAN

           The Marfield Lenders’ Loan to Marfield and Preferred Ship Mortgages over the Maya.

           13.   On or about December 12, 2008, the Marfield Lenders provided a loan to Marfield

in the principal amount of $89,420,000, together with interest, attorneys’ fees, and costs (the

“Marfield Loan”), as more fully set forth in the Term and Construction Loan Agreement, as

amended by the Variation Agreement, and Second Variation Agreement. Caterpillar’s

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participation in the Marfield Loan was $45,420,000; Eksportfinans’ participation in the Marfield

Loan was $44,000,000. True and correct copies of the Marfield Loan Agreement dated December

12, 2008, Marfield Variation Agreement dated April 1, 2009, and Marfield Second Variation

Agreement dated June 18, 2010 are attached hereto in globo as Exhibit “1,” and incorporated

herein by reference. The Marfield Loan Agreement, and all Marfield Variation Agreements

amending the Marfield Loan Agreement (discussed infra), are hereinafter collectively referred to

as the “Marfield Loan Agreement.”

           14.   To secure payment of all sums due to Eksportfinans under the Marfield Loan

Agreement, Marfield, as Mortgagor, duly executed and delivered to Eksportfinans, as Mortgagee,

a First Preferred Ship Mortgage dated December 19, 2008 on the whole of the Maya, her engines,

tackle, apparel, etc., all as more fully described therein. The First Preferred Ship Mortgage secures,

“the aggregate of all sums (whether principal, interest, fee or otherwise) which are or at any time

may be or become due from or owing by the Owner … pursuant to, any of the Loan Documents.”

(Exhibit “2”, Section 1.1 “Secured Debt”, 2.1.1). Eksportfinans caused the First Preferred Ship

Mortgage to be recorded on the Maya with the Panama Maritime Authority on January 26, 2009.

A true and correct copy of the First Preferred Ship Mortgage is attached hereto as Exhibit “2” and

is incorporated herein by reference.

           15.   To secure payment of all sums due to Caterpillar under the Marfield Loan

Agreement, Marfield, as Mortgagor, duly executed and delivered to Caterpillar, as Mortgagee, a

Second Preferred Ship Mortgage dated December 19, 2008 over the whole of the Maya, her

engines, tackle, apparel, etc., all as more fully described therein. The Second Preferred Ship

Mortgage secures, “the aggregate of all sums (whether principal, interest, fee or otherwise) which

are or at any time may be or become due from or owing by the Owner … pursuant to, any of the



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Loan Documents.” (Exhibit “3”, Section 1.1 “Secured Debt”, 2.1.1). Caterpillar caused the Second

Preferred Ship Mortgage to be recorded on the Maya with the Panama Maritime Authority on

January 26, 2009. A true and correct copy of the Second Preferred Ship Mortgage is attached

hereto as Exhibit “3” and is incorporated herein by reference.

           16.   As further security for the outstanding sums due to Caterpillar, Marfield also

executed a Third Preferred Ship Mortgage dated April 17, 2014 over the whole of the Maya in

favor of Caterpillar, which was duly recorded with the Panama Maritime Authority on May 28,

2014. The Third Preferred Ship Mortgage secures, “the aggregate of all sums (whether principal,

interest, fee or otherwise) which are or at any time may be or become due from or owing by the

Owner … pursuant to, any of the Loan Documents.” (Exhibit “4”, Section 1.1 “Secured Debt”,

2.1.1). A true and correct copy of the Third Preferred Ship Mortgage is attached hereto as Exhibit

“4” and is incorporated herein by reference.

           17.   From November 16, 2010 through March 10, 2015, the Marfield Lenders and

Marfield executed a series of amendments to the Marfield Loan Agreement (entitled “Variation

Agreements”), reaffirming Marfield’s obligations under the Marfield Loan Agreement, extending

the term of the Marfield Loan, and deferring Marfield’s payments due under the Marfield Loan

Agreement. True and correct copies of the Third Variation Agreement dated November 16, 2010,

the Fourth Variation Agreement dated June 27, 2014, the Fifth Variation Agreement dated January

7, 2015, and the Sixth Variation Agreement dated March 10, 2015, are attached hereto as Exhibits

“5” through “8.”

           18.   On July 10, 2015, Caterpillar provided an additional loan facility of $3,500,000 to

Marfield through the Seventh Variation to the Loan Agreement, which is secured by the Second

Preferred Ship Mortgage and the Third Preferred Ship Mortgage. A true and correct copy of the



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Seventh Variation Agreement is attached hereto as Exhibit “9.” Additionally, on July 23, 2015,

Marfield executed a Fourth Preferred Ship Mortgage in favor of Caterpillar to secure all

outstanding amounts due under the Marfield Loan, which was duly recorded with the Panama

Maritime Authority on December 27, 2016. The Fourth Preferred Ship Mortgage secures, “the

aggregate of all sums (whether principal, interest, fee or otherwise) which are or at any time may

be or become due from or owing by the Owner … pursuant to, any of the Loan Documents.”

(Exhibit “10”, Section 1.1 “Secured Debt”, 2.1.1). A copy of the Fourth Preferred Ship Mortgage

is attached as Exhibit “10” and is incorporated herein by reference.

           19.   From November 22, 2015 through December 21, 2016, the Marfield Lenders and

Marfield executed another series of Variation Agreements to the Marfield Loan Agreement

reaffirming Marfield’s obligations under the Marfield Loan Agreement, and deferring Marfield’s

payments due under the Marfield Loan Agreement. True and correct copies of the Eighth Variation

Agreement dated November 22, 2015, Ninth Variation Agreement date February 25, 2016, Tenth

Variation Agreement dated June 23, 2016, Eleventh Variation Agreement dated November 2,

2016, and Twelfth Variation Agreement dated December 21, 2016 are attached hereto as Exhibits

“11” through “15.”

           20.   On February 23, 2017, Caterpillar provided an additional loan facility of

$16,400,000 to Marfield through the Thirteenth Variation to the Loan Agreement. This amount is

likewise secured by the Second Preferred Ship Mortgage, Third Preferred Ship Mortgage, and

Fourth Preferred Ship Mortgage previously filed on the Maya. A true and correct copy of the

Thirteenth Variation Agreement is attached hereto as Exhibit “16.” Additionally, on March 10,

2017, Marfield executed a Fifth Preferred Ship Mortgage over the whole of the Maya in favor of

Caterpillar to secure all outstanding amounts due under the Marfield Loan. The Fifth Preferred



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Ship Mortgage secures, “the aggregate of all sums (whether principal, interest, fee or otherwise)

which are or at any time may be or become due from or owing by the Owner … pursuant to, any

of the Loan Documents.” (Exhibit “17”, Section 1.1 “Secured Debt”, 2.1.1). Caterpillar caused the

Fifth Preferred ship Mortgage to be recorded on the Maya with the Panama Maritime Authority

on April 18, 2017. A true and correct copy of the Fifth Preferred Ship Mortgage is attached as

Exhibit “17” and is incorporated herein by reference. The First Preferred Ship Mortgage, the

Second Preferred Ship Mortgage, the Third Preferred Ship Mortgage, the Fourth Preferred Ship

Mortgage, and the Fifth Preferred Ship Mortgage are collectively referred to herein as the

“Marfield Vessel Mortgages.”

           21.   From June 27, 2017 through December 21, 2017, the Marfield Lenders and

Marfield executed another series of variations to the Marfield Loan Agreement reaffirming

Marfield’s obligations under the Marfield Loan Agreement, and deferring Marfield’s payments

due under the Marfield Loan Agreement. True and correct copies of the Fourteenth Variation

Agreement dated June 27, 2017 and Fifteenth Variation Agreement dated December 21, 2017 are

attached hereto as Exhibits “18” and “19.”

           Marfield’s default under the Marfield Loan Agreement and foreclosure of the Maya.

           22.   Sections 7.1 and 7.3 of the Marfield Loan Agreement provide that in the event that

any payment of principal or interest is not paid when due, Marfield shall be in default under the

Marfield Loan Agreement and all sums due thereunder, including without limitation the unpaid

amounts of principal and interest, shall at once become due and payable at the option of the

Marfield Lenders. (Exhibit “1”, Sec. 7.1, 7.3)

           23.   Marfield is now in default under the Marfield Loan Agreement, having failed to

make any quarterly installment payments of principal and interest due under the Marfield Loan



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Agreement since March 17, 2014. Because Marfield has failed to make its installment payments

due under the Marfield Loan Agreement, the Marfield Lenders have declared and do hereby further

declare all sums due thereunder immediately due and payable pursuant to Sections 7.1 and 7.3 of

the Marfield Loan Agreement.

           24.   Pursuant to Section 7.1 of the Marfield Vessel Mortgages, default under Article 7

of the Marfield Loan Agreement is an event of default under the Marfield Vessel Mortgages,

entitling the Marfield Lenders to exercise their rights thereunder, including the right to “take

possession of the Vessel, to foreclose this Mortgage and exercise its power of sale as mortgagee

thereunder.” Because Marfield is in default under the Marfield Loan Agreement and Marfield

Vessel Mortgages, the Marfield Lenders desire to cause the Maya to be seized and sold at a sale to

be conducted by the United States Marshal.

           25.   The Ship Mortgage Act defines a “preferred mortgage” as a mortgage that is

“executed under the laws of the foreign country under whose laws the ownership of the vessel is

documented and has been registered under those laws in a public register at the port of registry of

the vessel or at a central office.” 46 U.S.C. § 31301(6)(b).

           26.   The Panama Maritime Authority is the exclusive central office and public registry

for documenting ownership of vessels and ship mortgages over vessels registered in Panama.

           27.   The Marfield Vessel Mortgages are preferred ship mortgages as defined in 46

U.S.C. §§ 31301(6)(b), 31325(a). All of the acts and things required to be done in order to give

the Marfield Vessel Mortgages the status of a preferred ship mortgage were done or caused to be

done by the Marfield Lenders or the Panama Maritime Authority. A true and correct copy of the

Marfield Certificate of Ownership and Encumbrance reflecting the recordation and valid




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recognition of the Marfield Vessel Mortgages by the Panama Maritime Authority is attached hereto

as Exhibit “20.”

           Balances owed to the Marfield Lenders.

           28.   The balance due to Eksportfinans by Marfield under the Marfield Loan Agreement

and First Preferred Ship Mortgage as of July 31, 2019 is $47,713,581.42, plus accruing interest

and attorneys’ fees and costs.

           29.   The balance due to Caterpillar by Marfield under the Marfield Loan Agreement and

Second Preferred Ship Mortgage, Third Preferred Ship Mortgage, Fourth Preferred Ship Mortgage

and Fifth Preferred Ship Mortgage as of July 31, 2019 is $64,781,041.48, plus accruing interest

and attorneys’ fees and costs.

           THE SHANARA LOAN

           The Shanara Lenders’ and KFW’s Loans to Shanara and their Preferred Ship
           Mortgages over the Marango.

           30.   On or about February 7, 2012, Caterpillar and Norway (the “Shanara Lenders”)

provided a loan to Shanara Maritime International S.A. (“Shanara”) in the principal amount of

$83,000,000, together with interest, attorneys’ fees, and costs (the “Shanara Loan”), as more fully

set forth in a Construction and Term Loan Agreement. Caterpillar’s participation in the Shanara

Loan was $44,000,000; Norway’s participation in the Loan was $39,000,000. A true and correct

copy of the Construction and Term Loan Agreement dated February 7, 2012 is attached hereto as

Exhibit “21,” and incorporated herein by reference. The Construction and Term Loan Agreement,

and all Variation Agreements amending the Shanara Loan Agreement (discussed infra), are

hereinafter collectively referred to as the “Shanara Loan Agreement.”

           31.   To secure payment of all sums due to the Shanara Lenders under the Shanara Loan

Agreement, Shanara, as Mortgagor, duly executed and delivered to the Shanara Lenders, as


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Mortgagees, a First Preferred Ship Mortgage dated February 9, 2012 on the whole of the Marango,

her engines, tackle, apparel, etc., all as more fully described therein. The First Preferred Ship

Mortgage secures, “the aggregate of all sums (whether principal, interest, fee or otherwise) which

are or at any time may be or become due from or owing by the Owner … pursuant to, any of the

Finance Documents.” (Exhibit “22”, Sections 1.1 “Secured Debt”, 4.1.1). The Shanara Lenders

caused the First Preferred Ship Mortgage to be recorded on the Marango with the Panama Maritime

Authority on March 13, 2012. A true and correct copy of the First Preferred Ship Mortgage is

attached hereto as Exhibit “22” and is incorporated herein by reference.

           32.   On or about January 16, 2013, KFW provided a loan to Shanara in the principal

amount of $20,000,000, together with interest, attorneys’ fees, and costs (the “KFW Loan”) to

finance the acquisition of several cranes to be installed aboard the Marango. The terms and

conditions of the KFW Loan are set forth in the KFW Loan Agreement dated January 16, 2013

(the “KFW Loan Agreement”), a true and correct copy of which is attached hereto as Exhibit

“23” and incorporated herein by reference.

           33.   To secure payment of all sums due to KFW under the KFW Loan Agreement,

Shanara, as Mortgagor, duly executed and delivered to KFW, as Mortgagee, a Second Preferred

Ship Mortgage dated January 24, 2013 on the whole of the Marango, her engines, tackle, apparel,

etc., all as more fully described therein. The Second Preferred Ship Mortgage secures, “the

aggregate of all sums (whether principal, interest, fee or otherwise) which are or at any time may

be or become due from or owing by the Owner … pursuant to the Loan Agreement or any of the

Security Documents.” (Exhibit “24,” Section 1.1 “Secured Debt”, 4.1(a)). KFW caused the Second

Preferred Ship Mortgage to be recorded on the Marango with the Panama Maritime Authority on




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April 22, 2013. A true and correct copy of the Second Preferred Ship Mortgage is attached hereto

as Exhibit “24” and is incorporated herein by reference.

           34.   From June 27, 2014 through March 10, 2015, the Shanara Lenders and Shanara

executed a series of amendments to the Shanara Loan Agreement (entitled “Variation

Agreements”), reaffirming Shanara’s obligations under the Shanara Loan Agreement, and

deferring Shanara’s payments due under the Shanara Loan Agreement. True and correct copies of

the Variation Agreement dated June 27, 2014, the Second Variation Agreement dated January 7,

2015, and the Third Variation Agreement dated March 10, 2015, are attached hereto as Exhibits

“25” through “27.”

           35.   On July 10, 2015, Caterpillar provided an additional loan facility of $3,500,000 to

Shanara through the Fourth Variation Agreement, which is secured by the First Preferred Ship

Mortgage. A true and correct copy of the Fourth Variation Agreement is attached hereto as Exhibit

“28.” Additionally, on July 23, 2015, Shanara executed a Third Preferred Ship Mortgage in favor

of Caterpillar to secure all outstanding amounts due under the Shanara Loan, which was duly

recorded with the Panama Maritime Authority on December 7, 2016. The Third Preferred Ship

Mortgage secures, “the aggregate of all sums (whether principal, interest, fee or otherwise) which

are or at any time may be or become due from or owing by the Owner … pursuant to, any of the

Finance Documents.” (Exhibit “29”, Sections 1.1 “Secured Debt”, 4.1.1). A copy of the Third

Preferred Ship Mortgage is attached as Exhibit “29” and is incorporated herein by reference.

           36.   From November 22, 2015 through December 21, 2016, the Shanara Lenders and

Shanara executed another series of Variation Agreements to the Shanara Loan Agreement

reaffirming Shanara’s obligations under the Shanara Loan Agreement, and deferring Shanara’s

payments due under the Shanara Loan Agreement. True and correct copies of the Fifth Variation



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Agreement dated November 22, 2015, Sixth Variation Agreement date February 25, 2016, Seventh

Variation Agreement dated June 23, 2016, Eighth Variation Agreement dated November 2, 2016,

and Ninth Variation Agreement dated December 21, 2016 are attached hereto as Exhibits “30”

through “34.”

           37.   On February 23, 2017, Caterpillar provided an additional loan facility of

$16,600,000 to Shanara through the Tenth Variation Agreement. This amount is likewise secured

by the First Preferred Ship Mortgage and Third Preferred Ship Mortgage previously filed on the

Marango. A true and correct copy of the Tenth Variation Agreement is attached hereto as Exhibit

“35.” Additionally, on March 10, 2017, Shanara executed a Fourth Preferred Ship Mortgage over

the whole of the Marango in favor of Caterpillar to secure all outstanding amounts due under the

Shanara Loan. The Fourth Preferred Ship Mortgage secures, “the aggregate of all sums (whether

principal, interest, fee or otherwise) which are or at any time may be or become due from or owing

by the Owner … pursuant to, any of the Finance Documents.” (Exhibit “36”, Sections 1.1 “Secured

Debt”, 4.1.1). Caterpillar caused the Fourth Preferred ship Mortgage to be recorded on the

Marango with the Panama Maritime Authority on April 18, 2017. A true and correct copy of the

Fourth Preferred Ship Mortgage is attached as Exhibit “36” and is incorporated herein by

reference. The First Preferred Ship Mortgage, the Second Preferred Ship Mortgage, the Third

Preferred Ship Mortgage, and the Fourth Preferred Ship Mortgage are collectively referred to

herein as the “Shanara Vessel Mortgages.”

           38.   From June 27, 2017 through December 21, 2017, the Shanara Lenders and Shanara

executed another series of Variations to the Shanara Loan Agreement reaffirming Shanara’s

obligations under the Shanara Loan Agreement, and deferring Shanara’s payments due under the

Shanara Loan Agreement. True and correct copies of the Eleventh Variation Agreement dated June



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27, 2017 and Twelfth Variation Agreement dated December 21, 2017 are attached hereto as

Exhibits “37” and “38.”

           Shanara’s default under the Shanara Loan Agreement and KFW Loan Agreement, and
           foreclosure of the Marango.

           39.   Sections 22.1.1 and 22.2 of the Shanara Loan Agreement provide that in the event

that any payment of principal or interest is not paid when due, Shanara shall be in default under

the Shanara Loan Agreement and all sums due thereunder, including without limitation the unpaid

amounts of principal and interest, shall at once become due and payable at the option of the Shanara

Lenders.

           40.   Shanara is now in default under the Shanara Loan Agreement, having failed to

make any quarterly installment payments of principal and interest due under the Shanara Loan

Agreement since March 17, 2014. Because Shanara has failed to make its installment payments

due under the Shanara Loan Agreement, the Shanara Lenders have declared and do hereby further

declare all sums due thereunder immediately due and payable pursuant to Sections 22.1.1 and 22.2

of the Shanara Loan Agreement.

           41.   Pursuant to Section 7.1 of the Shanara Lenders’ respective Shanara Vessel

Mortgages, default under Article 22 of the Shanara Loan Agreement is an event of default under

the Shanara Vessel Mortgages, entitling the Shanara Lenders to exercise their rights thereunder,

including the right to “take possession of the Vessel, to foreclose this Mortgage and exercise its

power of sale as mortgagee thereunder.” Because Shanara is in default under the Shanara Loan

Agreement and respective Shanara Vessel Mortgages, the Shanara Lenders desire to cause the

Marango to be seized and sold at a sale to be conducted by the United States Marshal.

           42.   Section 15.1 of the KFW Loan Agreement provides that in the event that any

payment of principal or interest is not paid when due, Shanara shall be in default under the KFW


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Loan Agreement and all sums due thereunder, including without limitation the unpaid amounts of

principal and interest, shall at once become due and payable at the option of KFW.

           43.   Shanara is now in default under the KFW Loan Agreement, having failed to make

any payments of principal and interest due under the KFW Loan Agreement since January 30,

2014. Because Shanara has failed to make its installment payments due under the KFW Loan

Agreement, KFW has declared and does hereby further declare all sums due thereunder

immediately due and payable pursuant to Section 15.1 of the KFW Loan Agreement.

           44.   Pursuant to Section 7.1 of the Second Preferred Ship Mortgage, default under

Section 15.1 of the KFW Loan Agreement is an event of default under the Second Preferred Ship

Mortgage, entitling KFW to exercise its rights thereunder, including the right to “take possession

of the Vessel, to foreclose this Mortgage and exercise its power of sale as mortgagee thereunder.”

Because Shanara is in default under the KFW Loan Agreement and the Second Preferred Ship

Mortgage, KFW desires to cause the Marango to be seized and sold at a sale to be conducted by

the United States Marshal.

           45.   The Ship Mortgage Act defines a “preferred mortgage” as a mortgage that is

“executed under the laws of the foreign country under whose laws the ownership of the vessel is

documented and has been registered under those laws in a public register at the port of registry of

the vessel or at a central office.” 46 U.S.C. § 31301(6)(b).

           46.   The Panama Maritime Authority is the exclusive central office and public registry

for documenting ownership of vessels and ship mortgages over vessels in Panama.

           47.   The Shanara Vessel Mortgages are preferred ship mortgages as defined in 46 U.S.C.

§§31301(6)(b), 31325(a). All of the acts and things required to be done in order to give the Vessel

Mortgages the status of a preferred ship mortgage were done or caused to be done by the Shanara



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Lenders, KFW, or the Panama Maritime Authority. A true and correct copy of the Certificate of

Ownership and Encumbrance reflecting the recordation and valid recognition of the Shanara

Vessel Mortgages by the Panama Maritime Authority is attached hereto as Exhibit “39.”

           Balances owed to Lenders and KFW.

           48.    The balance due to Norway by Shanara under the Shanara Loan Agreement and

First Preferred Ship Mortgage as of July 31, 2019 is $64,465,225.88, plus accruing interest and

attorneys’ fees and costs.

           49.    The balance due to Caterpillar by Shanara under the Shanara Loan Agreement and

the First Preferred Ship Mortgage, Third Preferred Ship Mortgage and Fourth Preferred Ship

Mortgage as of July 31, 2019 is $67,747,912.66, plus accruing interest and attorneys’ fees and

costs.

           50.    The balance due to KFW by Shanara under the KFW Loan Agreement and the

Second Preferred Ship Mortgage as of July 31, 2019 is $22,321,871.48, plus accruing interest and

attorneys’ fees and costs.

                 COUNT I – BREACH OF THE MARFIELD LOAN AGREEMENT

           51.    The Marfield Lenders reallege each of the allegations of paragraphs 1 through 50

above, as if set forth in full herein.

           52.    Because Marfield has failed to make any quarterly installment payments of

principal and interest due under the Marfield Loan Agreement since March 17, 2014, Marfield is

now in default under the Marfield Loan Agreement.

           53.    The Marfield Lenders have declared and do hereby further declare all sums due

thereunder immediately due and payable pursuant to Sections 7.1 and 7.3 of the Marfield Loan

Agreement.



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           54.   The balance due to Eksportfinans by Marfield under the Marfield Loan Agreement

and First Preferred Ship Mortgage as of as of July 31, 2019 is $47,713,581.42, plus accruing

interest and attorneys’ fees and costs. Eksportfinans seeks judgment against Marfield for this

amount.

           55.   The balance due to Caterpillar by Marfield under the Marfield Loan Agreement and

Second Preferred Ship Mortgage, Third Preferred Ship Mortgage, Fourth Preferred Ship Mortgage

and Fifth Preferred Ship Mortgage as of July 31, 2019 is $64,781,041.48, plus accruing interest

and attorneys’ fees and costs. Caterpillar seeks judgment against Marfield for this amount.

      COUNT II – ENFORCEMENT OF THE MARFIELD VESSEL MORTGAGES

           56.   The Marfield Lenders reallege each of the allegations of paragraphs 1 through 55

above, as if set forth in full herein.

           57.   The Marfield Lenders are parties to the Marfield Loan Agreement, and the Marfield

Vessel Mortgages, and have the right in their own name to enforce and collect the obligations

evidenced by the Marfield Loan Agreement and to enforce the Marfield Loan Agreement and

Marfield Vessel Mortgages.

           58.   Pursuant to 46 U.S.C. § 31325(b), the Marfield Lenders desire to enforce the terms

and conditions of the Marfield Vessel Mortgages against the Maya.

           59.   Because Marfield defaulted under the Marfield Loan Agreement and the Marfield

Vessel Mortgages as specified above, the Marfield Lenders are entitled to have their liens and

encumbrances of the Marfield Vessel Mortgages recognized and enforced as valid preferred ship

mortgages against the Maya, and for such other legal and equitable relief as is just and due under

admiralty and maritime jurisdiction.




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                 COUNT III – NOTICE OF THE PROCEEDINGS TO MARFIELD

           60.    The Marfield Lenders reallege each of the allegations of paragraphs 1 through 59

above, as if set forth in full herein.

           61.    Pursuant to the United States Code and the local rules of this Court, notice of these

proceedings must be given to the owner or master of the Maya and all persons who have recorded

lien(s) over the Maya, and the Marfield Lenders request that the Court order such notification to

be made to such persons by commercial courier, delivered to their last known address on file with

the Panama Maritime Authority.

           62.    Pursuant to local rule, the Marfield Lenders each agree to hold harmless and

indemnify the United States Marshal and all of its deputies from any and all liability as a result of

their seizure of the Maya.

                 COUNT IV – BREACH OF THE SHANARA LOAN AGREEMENT
                              AND KFW LOAN AGREEMENT

           63.    The Shanara Lenders reallege each of the allegations of paragraphs 1 through 62

above, as if set forth in full herein.

           64.    Because Shanara has failed to make any quarterly installment payments of principal

and interest due under the Shanara Loan Agreement since March 17, 2014, Shanara is now in

default under the Shanara Loan Agreement.

           65.    The Shanara Lenders have declared and do hereby further declare all sums due

thereunder immediately due and payable pursuant to Sections 7.1 and 7.3 of the Shanara Loan

Agreement.

           66.    The balance due to Norway by Shanara under the Shanara Loan Agreement and

First Preferred Ship Mortgage as of July 31, 2019 is $64,465,225.88, plus accruing interest and

attorneys’ fees and costs. Norway seeks judgment against Shanara for this amount.


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           67.   The balance due to Caterpillar by Shanara under the Shanara Loan Agreement and

the First Preferred Ship Mortgage, Third Preferred Ship Mortgage and Fourth Preferred Ship

Mortgage as of July 31, 2019 is $67,747,912.66, plus accruing interest and attorneys’ fees and

costs. Caterpillar seeks judgment against Shanara for this amount.

           68.   Because Shanara has failed to make any payments of principal and interest due

under the KFW Loan Agreement since January 30, 2014, Shanara is now in default under the KFW

Loan Agreement.

           69.   KFW has declared and does hereby further declare all sums due thereunder

immediately due and payable pursuant to Section 15.1 of the KFW Loan Agreement.

           70.   The balance due to KFW by Shanara under the KFW Loan Agreement and the

Second Preferred Ship Mortgage as of July 31, 2019 is $22,321,871.48, plus accruing interest and

attorneys’ fees and costs. KFW seeks judgment against Shanara for this amount.

       COUNT V – ENFORCEMENT OF THE SHANARA VESSEL MORTGAGES

           71.   The Shanara Lenders and KFW reallege each of the allegations of paragraphs 1

through 70 above, as if set forth in full herein.

           72.   The Shanara Lenders are parties to the Shanara Loan Agreement and the respective

Shanara Vessel Mortgages, and have the right in their own name to enforce and collect the

obligations evidenced by the Shanara Loan Agreement and to enforce the respective Shanara

Vessel Mortgages.

           73.   KFW is a party to the KFW Loan Agreement and KFW’s Second Preferred Ship

Mortgage, and has the right in its own name to enforce and collect the obligations evidenced by

the KFW Loan Agreement and to enforce KFW’s Second Preferred Ship Mortgage.

           74.   Pursuant to 46 U.S.C. § 31325(b), the Shanara Lenders and KFW desire to enforce

the terms and conditions of their respective Shanara Vessel Mortgages against the Marango.

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           75.   Because Shanara defaulted under the Shanara Loan Agreement, KFW Loan

Agreement, and the Shanara Vessel Mortgages as specified above, the Shanara Lenders and KFW

are entitled to have their liens and their encumbrances of the Shanara Vessel Mortgages recognized

and enforced as valid preferred ship mortgages against the Marango, and for such other legal and

equitable relief as is just and due under admiralty and maritime jurisdiction.

                              COUNT VI – NOTICE TO SHANARA

           76.   Lenders and KFW reallege each of the allegations of paragraphs 1 through 75

above, as if set forth in full herein.

           77.   Pursuant to the United States Code and the local rules of this Court, notice of these

proceedings must be given to the owner or master of the Marango and all persons who have

recorded lien(s) over the Marango, and the Shanara Lenders and KFW request that the Court order

such notification to be made to such persons by commercial courier, delivered to their last known

address on file with the Panama Maritime Authority.

           78.   Pursuant to local rule, the Shanara Lenders and KFW each agree to hold harmless

and indemnify the United States Marshal and all of its deputies from any and all liability as a result

of their seizure of the Marango.

                                          VERIFICATION

           79.   The verification of Caterpillar’s authorized representative, verifying the facts of the

Complaint are attached as Exhibit “40.”

           80.   The verification of Eksporfinans’ authorized representative, verifying the facts of

the Complaint are attached as Exhibit “41.”

           81.   The verification of Norway’s authorized representative, verifying the facts of the

Complaint are attached as Exhibit “42.”



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           82.   The verification of KFW’s authorized representative, verifying the facts of the

Complaint are attached as Exhibit “43.”

           WHEREFORE, plaintiffs, Caterpillar Financial Services Asia Pte Ltd, Eksportfinans

ASA, the Norwegian Government, represented by the Norwegian Ministry of Trade and Industry

and Eksportkreditt Norge AS, and KFW IPEX-Bank GmbH pray:


           1.    That process in rem pursuant to Rule C of the Supplemental Rules for Certain

Admiralty and Maritime Claims of the Federal Rules of Civil Procedure issue against the

CABALLO MAYA, bearing Panama Official No. 42480-11, her engines, tackle and apparel, etc.,

and that all persons having or claiming any interest therein be cited to appear in and answer, under

oath, all and singular the matters aforesaid, that the Vessel Mortgages in favor of Eksportfinans

ASA and Caterpillar Financial Services Asia Pte Ltd, be declared to be valid and subsisting liens

upon the CABALLO MAYA, her engines, tackle, apparel, etc., in rem, and that the said

CABALLO MAYA be seized and sold to satisfy all amounts owed to Caterpillar Financial

Services Asia Pte Ltd and Eksportfinans ASA, as set forth herein;

           2.    That process in rem pursuant to Rule C of the Supplemental Rules for Certain

Admiralty and Maritime Claims of the Federal Rules of Civil Procedure issue against the

CABALLO MARANGO, bearing Panama Official No. 44435-12, her engines, tackle and apparel,

etc., and that all persons having or claiming any interest therein be cited to appear in and answer,

under oath, all and singular the matters aforesaid, that the Vessel Mortgages in favor of Caterpillar

Financial Services Asia Pte Ltd, the Norwegian Government, represented by the Norwegian

Ministry of Trade and Industry and Eksportkreditt Norge AS, and KFW IPEX-Bank GmbH be

declared to be valid and subsisting liens upon the CABALLO MARANGO, her engines, tackle,

apparel, etc., in rem, and that the said CABALLO MARANGO be seized and sold to satisfy all


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amounts owed to Caterpillar Financial Services Asia Pte Ltd, the Norwegian Government,

represented by the Norwegian Ministry of Trade and Industry and Eksportkreditt Norge AS, and

KFW IPEX-Bank GmbH, as set forth herein;

           3.   For judgment in rem against the CABALLO MAYA and CABALLO MARANGO,

as provided by 46 U.S.C. § 31326, in the full amounts due as set forth herein, including

prejudgment interest, costs, expenses and attorneys’ fees;

           4.   That any property attached in this proceeding be sold under the direction of this

Court, and that the proceeds of the sale be deposited with the Court to satisfy all amounts owed to

Caterpillar Financial Services Asia Pte Ltd, Eksportfinans ASA, the Norwegian Government,

represented by the Norwegian Ministry of Trade and Industry and Eksportkreditt Norge AS, and

KFW IPEX-Bank GmbH;

           5.   That notice of these proceedings be given to the owner or master of the M/V

CABALLO MAYA, and the owner or master of the M/V CABALLO MARANGO, and all persons

who have recorded lien(s) with the Panama Maritime Authority over the Vessels by commercial

courier, delivered to their last known address on file with the Panama Maritime Authority;

           6.   That judgment in personam against Marfield Ltd. Inc., in favor of Eksportfinans

ASA and Caterpillar Financial Services Asia Pte Ltd, be rendered for the full amounts due as set

forth herein, including prejudgment interest, costs, expenses and attorneys’ fees;

           7.   That judgment in personam against Shanara Maritime International S.A., in favor

of Caterpillar Financial Services Asia Pte Ltd, the Norwegian Government, represented by the

Norwegian Ministry of Trade and Industry and Eksportkreditt Norge AS, and KFW IPEX-Bank

GmbH, be rendered for the full amounts due as set forth herein, including prejudgment interest,

costs, expenses and attorneys’ fees; and



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           8.     That this Court grant Caterpillar Financial Services Asia Pte Ltd, Eksportfinans

ASA, the Norwegian Government, represented by the Norwegian Ministry of Trade and Industry

and Eksportkreditt Norge AS, and KFW IPEX-Bank GmbH, such other and further relief which it

may deed just and proper.

           Respectfully submitted, this 13th day of August, 2019.

                                                McGlinchey Stafford PLLC

                                                /s/ Anderson L. Cao
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                                                Attorneys for Intervenor-Plaintiffs,
                                                Caterpillar Financial Services Asia Pte Ltd,
                                                Eksportfinans ASA, the Norwegian Government,
                                                represented by the Norwegian Ministry of Trade
                                                and Industry and Eksportkreditt Norge AS, and
                                                KFW IPEX-Bank GmbH

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601 Poydras Street, Suite 1200
New Orleans, LA 70130

Of counsel

                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing was e-filed with
the Clerk of the Court and electronically served on all counsel of record via the Court’s ECF E-
Filing Service System on this the 13th day of August, 2019.

                                                              /s/ Anderson L. Cao
                                                              Anderson L. Cao




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